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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF ARIZONA
 United States of America
                                                             JUDGMENT IN A CRIMINAL CASE
     v.                                                      (For Offenses Committed On or After November 1, 1987)

 Jesse Don Moquino                                           No. CR-19-01199-001-PHX-SMB
                                                             Jeffrey Allen Williams (AFPD)
                                                             Attorney for Defendant
USM#: 25444-508

THE DEFENDANT ENTERED A PLEA OF guilty on February 26, 2020 to the lesser-included
offense of the single count Indictment.

ACCORDINGLY, THE COURT HAS ADJUDICATED THAT THE DEFENDANT IS GUILTY
OF THE FOLLOWING OFFENSE(S): violating Title 18, U.S.C. §1153 and 18, U.S.C. §1112, CIR-
Voluntary Manslaughter, a Class C Felony offense, as charged in the lesser-included offense of the single
count Indictment.

IT IS THE JUDGMENT OF THIS COURT THAT the defendant is committed to the custody of the
Bureau of Prisons for a term of ONE HUNDRED EIGHTY (180) MONTHS. Upon release from
imprisonment, the defendant shall be placed on supervised release for a term of THIRTY-SIX (36)
MONTHS.

The Court recommends that the defendant be placed in an institution in or near the southwest region of
the United States.
                            CRIMINAL MONETARY PENALTIES

The defendant shall pay to the Clerk the following total criminal monetary penalties:

SPECIAL ASSESSMENT: $100.00                        FINE: WAIVED              RESTITUTION: N/A

The Court finds the defendant does not have the ability to pay a fine and orders the fine waived.

The defendant shall pay a special assessment of $100.00 which shall be due immediately.

If incarcerated, payment of criminal monetary penalties are due during imprisonment at a rate of not less than $25 per quarter and
payment shall be made through the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary payments
shall be made to the Clerk of U.S. District Court, Attention: Finance, Suite 130, 401 West Washington Street, SPC 1, Phoenix,
Arizona 85003-2118. Payments should be credited to the various monetary penalties imposed by the Court in the priority
established under 18 U.S.C. § 3612(c). The total special assessment of $100.00 shall be paid pursuant to Title 18, United States
Code, Section 3013 for the lesser-included offense of the single count Indictment.
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Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, (10) costs, including
cost of prosecution and court costs.

Any unpaid balance shall become a condition of supervision and shall be paid within 90 days prior to the expiration of supervision.
Until all restitutions, fines, special assessments and costs are fully paid, the defendant shall immediately notify the Clerk, U.S.
District Court, of any change in name and address. The Court hereby waives the imposition of interest and penalties on any unpaid
balances.

                                                 SUPERVISED RELEASE

It is ordered that while on supervised release, the defendant must comply with the mandatory and
standard conditions of supervision as adopted by this court, in General Order 17-18, which incorporates
the requirements of USSG §§ 5B1.3 and 5D1.2. Of particular importance, the defendant must not commit
another federal, state, or local crime during the term of supervision. Within 72 hours of sentencing or
release from the custody of the Bureau of Prisons the defendant must report in person to the Probation
Office in the district to which the defendant is released. The defendant must comply with the following
conditions:

                                             MANDATORY CONDITIONS

1)       You must not commit another federal, state or local crime.
2)       You must not unlawfully possess a controlled substance. The use or possession of marijuana, even
         with a physician's certification, is not permitted.
3)       You must refrain from any unlawful use of a controlled substance. The use or possession of
         marijuana, even with a physician's certification, is not permitted. Unless suspended by the Court,
         you must submit to one drug test within 15 days of release from imprisonment and at least two
         periodic drug tests thereafter, as determined by the court.

                                               STANDARD CONDITIONS

1)       You must report to the probation office in the federal judicial district where you are authorized to
         reside within 72 hours of sentencing or your release from imprisonment, unless the probation
         officer instructs you to report to a different probation office or within a different time frame.
2)       After initially reporting to the probation office, you will receive instructions from the court or the
         probation officer about how and when you must report to the probation officer, and you must
         report to the probation officer as instructed.
3)       You must not knowingly leave the federal judicial district where you are authorized to reside
         without first getting permission from the court or the probation officer.
4)       You must answer truthfully the questions asked by your probation officer.
5)       You must live at a place approved by the probation officer. If you plan to change where you live
         or anything about your living arrangements (such as the people you live with), you must notify
         the probation officer at least 10 days before the change. If notifying the probation officer in
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       advance is not possible due to unanticipated circumstances, you must notify the probation officer
       within 72 hours of becoming aware of a change or expected change.
6)     You must allow the probation officer to visit you at any time at your home or elsewhere, and you
       must permit the probation officer to take any items prohibited by the conditions of your
       supervision that he or she observes in plain view.
7)     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the
       probation officer excuses you from doing so. If you do not have full-time employment you must
       try to find full-time employment, unless the probation officer excuses you from doing so. If you
       plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If
       notifying the probation officer at least 10 days in advance is not possible due to unanticipated
       circumstances, you must notify the probation officer within 72 hours of becoming aware of a
       change or expected change.
8)     You must not communicate or interact with someone you know is engaged in criminal activity. If
       you know someone has been convicted of a felony, you must not knowingly communicate or
       interact with that person without first getting the permission of the probation officer.
9)     If you are arrested or questioned by a law enforcement officer, you must notify the probation
       officer within 72 hours.
10)    You must not own, possess, or have access to a firearm, ammunition, destructive device, or
       dangerous weapon (i.e., anything that was designed, or was modified for, the specific purpose of
       causing bodily injury or death to another person such as nunchakus or tasers).
11)    You must not act or make any agreement with a law enforcement agency to act as a confidential
       human source or informant without first getting the permission of the court.
12)    If the probation officer determines that you pose a risk to another person (including an
       organization), the probation officer may require you to notify the person about the risk and you
       must comply with that instruction. The probation officer may contact the person and confirm that
       you have notified the person about the risk.
13)    You must follow the instructions of the probation officer related to the conditions of supervision.

                                      SPECIAL CONDITIONS

The following special conditions are in addition to the conditions of supervised release or supersede any
related standard condition:

1)     You must cooperate in the collection of DNA as directed by the probation officer.
2)     You must participate in a mental health assessment and participate in mental health treatment as
       determined to be necessary by a medical or mental health professional and follow any treatment
       directions by the treatment provider. You must take medicine as prescribed by a medical
       professional providing mental health treatment, unless you object, in which event you must
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       immediately notify the probation officer. You must contribute to the cost of treatment in an
       amount to be determined by the probation officer.
3)     You must submit your person, property, house, residence, vehicle, papers, or office to a search
       conducted by a probation officer. Failure to submit to a search may be grounds for revocation of
       release. You must warn any other occupants that the premises may be subject to searches pursuant
       to this condition.
4)     You must participate as instructed by the probation officer in a program of substance abuse
       treatment (outpatient and/or inpatient) which may include testing for substance abuse. You must
       contribute to the cost of treatment in an amount to be determined by the probation officer.
5)     You must not use or possess alcohol or alcoholic beverages.
6)     You must submit to substance abuse testing. You must not attempt to obstruct or tamper with the
       testing methods. You must contribute to the cost of testing in an amount to be determined by the
       probation officer.
7)     To the extent the probation officer determines you are reasonably able to pay the costs of doing
       so, you must participate in an approved program for domestic violence.

THE COURT FINDS that you have been sentenced in accordance with the terms of the plea agreement
and that you have waived your right to appeal and to collaterally attack this matter. The waiver has been
knowingly and voluntarily made with a factual basis and with an understanding of the consequences of
the waiver.

The Court may change the conditions of probation or supervised release or extend the term of
supervision, if less than the authorized maximum, at any time during the period of probation or
supervised release. The Court may issue a warrant and revoke the original or any subsequent sentence
for a violation occurring during the period of probation or supervised release.

The Court orders commitment to the custody of the Bureau of Prisons and recommends that the defendant
be placed in an institution in or near the southwest region of the United States.

The defendant is remanded to the custody of the United States Marshal.

Date of Imposition of Sentence: Friday, March 25, 2022.

       Dated this 25th day of March, 2022.
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                                                                             RETURN

  I have executed this Judgment as follows:
                                                                                                                               , the institution
  defendant delivered on                                          to                                     at
  designated by the Bureau of Prisons with a certified copy of this judgment in a Criminal case.


  United States Marshal                                                                            By:        Deputy Marshal



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